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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


UNITED STATES OF AMERICA

v.                                                           Case No: 6:19-cr-122-Orl-41DCI

ANTONIO WALTHOUR

USM Number: 26129-075

       JUDGE:            Carlos E. Mendoza              COUNSEL FOR               Dana Hill
                                                        GOVERNMENT
      DEPUTY               Anita Chenevert              COUNSEL FOR             Charles Greene
      CLERK:                                             DEFENDANT:
      COURT                Suzanne Trimble           PRETRIAL/PROBATION      Angela Harris-Butler
     REPORTER      trimblecourtreporter@gmail.com
     DATE/TIME             January 27, 2021                Interpreter               N/A
                       11:59 A.M. - 12:27 P.M.
     TOTAL TIME              28 minutes


                                 MINUTES ON SENTENCING

Case called; Appearances taken; Defendant sworn. Defendant is adjudicated guilty of
Count One of the Indictment.

SENTENCE IMPOSED as to Count One of the Indictment.

IMPRISONMENT: 42 Months.
     Court will recommend placement at Jesup, GA to be near famly.

SUPERVISED RELEASE: 3 years.

         Special conditions of supervised release:

         (1) The defendant shall participate in a substance abuse program (outpatient and/or
             inpatient).

         (2) Defendant shall cooperate in the collection of DNA.

         (3) Mandatory drug testing requirements are imposed.

FINE: Waived.

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SPECIAL ASSESSMENT of $100.00 is due immediately.

The plea agreement is accepted.

DISMISSED: In accordance with the plea agreement, it is ordered that COUNT 2 of the
Indictment be DISMISSED.

The defendant is remanded to the custody of the United States Marshal.

Defendant advised of right to appeal.

Court is adjourned.




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